 

Case 2:13-cv-00844-SPG-DN4;_999clment_2_Eil9cl~;LZ.LClS£l$_R`age_LQLLEaQ,eLD;S_ch

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IN TI'IE SMA_LL CLAMS COURT OF THE TWENTIETH JUDICIAL CIRCUIT i

IN AND FOR COLLIER COUNTY, FLOR]DA g

clvtL ACTION f;
KAT]E MURPHY, cAsE No.; l
mainqu
VS.
Nco FINANCIAL sYsTEMs, 1NC.,
Defendant. /

 

CONIPLAINT FOR UNLAWFUL AND ABUSIVMBT COLLECTIONPRACTICES
COMES NOW, the Plaintit}`, KATIE MURPHY, hereinaher “Plaintift” or “consurner,” sues
the Defendant, NCO FlNANCIAL SERVICES, lNC., (hereinafter “Defendant”), for violation of
Florida`s Consumer Collection Practices Act, §559.55 Fla. Stat. et seq., the “FCCPA,” 47 U.S.C. !
§ 227, the “TCPA” and 47 C.F.R. § 64.1200 for damages that are not less than $2,501.00 and do z

not exceed $5,000.00, exclusive of attorney’s fees and costs, and alleges as follows:

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l. 'l'he FCCPA protects Florida citizens from abusive, threatening, harassing and false or
fraudulent calls by or on behalf of creditors. The FCCPA provides for actual and statutory
damages, plus attorney’s fees and costs of the action. The Defendant’s misconduct, as
alleged and to be proven herein, violates the FCCPA in multiple respects. The frequency of
the calls, exceeding several calls per day, the timing of the calls and the calls’ content,
evidence a willful intent to harass, intimidate, break down and degrade the consumer in clear
violation of the letter and intent of the FCCPA. FI"he Defendant seeks or threath to collect i
debts which are not owed and/or assert rights to which the Defendant does not have, and

reports, or threatens to report alleged debts without also reporting that they are disputed

 

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2. The TCPA restricts the use of an automatic telephone dialing system, and/or the use of
an artificial or prerecorded voice to deliver a message without prior express consent to

any residential telephone or any telephone number assigned to a cellular phone service

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3. The Plaintiff resides in Collier County and the unlawful and unlawful communications
occurred in this county and caused injury to Plaintiff in this county.

4. The Defendant is subject to in personam jurisdiction'here because the Defendant’s
unlawful, statutory violations were specifically directed at Plaintiff in this county and
caused harm to Plaintiff in this county.

5. The damages, exclusive of attomeys’ fees, prejudgment interest, and costs, are within the
jurisdictional limits of this Court.

6. Plaintiff is a consumer.~

7. The_Plaintiff became delinquent in makingpayments under the contract for specific
reasons.

8. The Defendant, in response to the Plaintist situation, undertook collection activities
against the Plaintiff.

9. In its effort to collect the Plaintist debt, the Defendant misrepresented the amount due
and owing under the contract.

10. The Defendant, in an effort to collect the alleged debt owed by the Plaintiff, undertook an
aggressive and outrageous course of conduct that exceeded any reasonable bounds of
decency or lawful business practice, included the use of repeated telephone calls, obscene

language, threats, calls and hang-ups, false and egregious incomplete reports to credit

 

bureaus and reporting agencies, and similar conduct designed to threaten and intimidate
the Plaintiff

ll. The Defendant used an automatic telephone dialing system, and/or used an artificial or
prerecorded voice to deliver a message to the Plaintiff, without prior express consent to
Plaintiff s residential telephone or cellular phone.

12. The Defendant’s unlawful course of conduct constituted violations of the FCCPA and the
TCPA.

COUNT I
Violation of FCCPA

13. This is a cause of action against Defendant for its violation of the FCCPA.

14. Plaintiff restates (l) through (12) above, as if fully set forth herein.

15. At all times material hereto, Plaintiff was a “debtor” or “consumer” within the meaning
of §559.55(2) Fla. Stat.

16. At all times material hereto, the communications and other misconduct alleged herein
arose out of a “debt” or “consumer debt” within the meaning of §559.55(1) Fla. Stat.

17. At all times material hereto, the Defendant was a “person” within the meaning of
§559.55(7) Fla. Stat_

18. The Defendant willfully violated provisions of the FCCPA by their conduct, which
included, but'was not limited to the following actions:

(a) The Defendant’s attempt to collect the debt was as assertion of the existence of a legal

n'g,ht'When the Defendant knew that right did not exist in violation of Fla Stat. § 559.72(9).

(b) The Defendant’s conduct was prohibited by § 559.72(7), because it was reasonably

intended to willfully harass or abuse the Plaintiff.

19. As a legal and proximate cause of the aforesaid misconduct and violations, Plaintiff has

 

 

 

 

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suffered actual damages and is entitled to statutory damages

20. Plaintiff was forced to retain undersigned counsel and has or will incur attomey’s fees,
legal assistant fees and costs. Counsel has been retained on a contingency basis, and Plaintiff
seeks a contingency risk multiplier.

21. Plaintiff is entitled to an award of attorneys’ fees, legal assistant fees and costs of this
action, pursuant to the provisions of the FCCPA.

WHER_EFORE, Plaintiff, KATIE MUR.PHY, demands actual and statutory damages,
attomey’s fees, legal assistant fees, costs and prejudgment interest on'all damages where such

interest is allowable by law and such other and further relief as may be mete and proper.

COUNT ll
Injunctive Relief
22. This is a cause of action for injunctive relief against Defendant to enjoin its further
violations of the FCCPA.

l 23. Plaintiff restates (l) through (lS) as if fully set forth herein
n 24. The Defendant’s continued violation of the FCCPA against the Plaintiff and other
Flon'da citizens is repugnant to the public welfare and offends the long-standing public
policy of this State to protect innocent consumers &orn predatory, abusive and fraudulent
collection practices.
25. Plaintiff has no adequate remedy at law.
"26. 'l`he Defendant has or will continue the aforesaid unlawful conduct now and into the
future unless equitably enjoined from continuing to violate the FCCPA.
27. ` The FCCPA empowers and confers upon this Court the necessary and statutory

jurisdiction and authority to “enjoin” “further violations of this Part.”

 

 

 

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28. Plaintiff hereby invokes the Court’s statutory and/or equitable jurisdiction under
the FCCPA to enjoin further violations of this part, more specifically:

a. The immediate and permanent cessation of any and all unlawful attempted
communication or contact

_ 29. Plaintiff was forced to retain undersigned counsel and has or will incur substantial
attomey’s fees, legal assistant fees and costs.

30. Plaintiff, as a prevailing party, is entitled to an award of attomey’s fees, legal
assistant fees and costs of this action, pursuant to the provisions of the FCCPA, and
contingent risk multiplier. l
WHEREFOR.E, Plaintiff, KA'I`IE MURPHY, prays for injunctive relief, attorney’s fees,

legal assistant fees, costs, prejudgment interest on all damages where such interest is allowable
by law and such other and further relief as may be mete and proper.

COUNT lII
Declaratog Relief

3l. This is a cause of action for declaratory relief against Defendant to declare certain
of its offending practices to be unlawful and in violation of the FCCPA.

32. Plaintiff restates (l) through (18) as if fully set forth herein

33. __ _ The -Defendant’s continued violation of the FCCPA against Plaintiff and other
Florida citizens is repugnant to the public welfare and offends the long-standing public
policy of this State to protect innocent consumers from predatory, abusive and fraudulent
collection practices

34. ` PlaintiH has no adequate remedy at law.

35. The Defenda.nt denies that it is in violation of the aforesaid statutes

36. Plaintiff is uncertain as to Plaintiff's rights under the FCCPA. Plaintiff seeks the

 

 

 

 

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Court to exercise its statutory and/or equitable jurisdiction to declare the rights of the
parties under the statute.

37. The Defendant has or Will continue the aforesaid unlawful conduct now and into the
future unless declaratory relief issues declaring the conduct unlawful

38. The FCCPA and Chapter 86, The Declaratory ludgment Act empowers and confers
upon this Court the necessary and statutory jurisdiction and authority to “declare” the
rights of the parties under the FCCPA.

39. Plaintiff hereby invokes the Court’s equitable jurisdiction under the FCCPA to
declare the following as violations of the FCCPA, willfully repeated “robo-calls” or

other multiple calls to consumers in a single day;

 

40. Plaintiff was forced to retain undersigned counsel and has or will incur substantial
attomey’s fees, legal assistant fees and costs

41. Plaintiff, as a prevailing party, is entitled to an award of attorney’s fees, legal
assistant»fees and costs of this action, pursuant to the provisions of the FCCPA.

WHEREFORE, Plaintiff, K.ATIE MURPHY, prays for declaratory relief, attomey’s fees,

 

legal assistant fees, costs, prejudgment interest on all damages where such interest is allowable
by law and such other and further relief as may be mete and proper.

M
'Violation of the TCPA

42. This is a cause of action against Defendant for its violation of the TCPA.
_43. Plaintiff restates (l) through (18) above, as if fully set forth herein
44. At all times material hereto, the Defendant was a “person” within the meaning of 47 §

_ U.s.c. §227.

 

 

 

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45. The Defendant willfully violated the provisions of the TCPA by placing calls using an
automatic telephone dialing system to dial the Plaintiff’s cellular or residential horne
telephone, or by using an artificial or prerecorded voice to deliver a message to the
Plaintiff in violation of 47 U.S.C. §227.

46. As a legal and proximate cause of the aforesaid misconduct and violations, Plaintiff has
suffered actual damages and is entitled to statutory damages

47. Plaintiff was forced to retain undersigned counsel and has or will incur attorney’s fees,
legal assistant fees and costs. Counsel has been retained on a contingency basis, and
Plaintiff seeks a contingency risk multiplier.

48. Plaintiff is entitled to an award of attomeys’ fees, legal assistant fees and costs of this
action, pursuant to the provisions of the TCPA.

wrrEREFORE, ridinde KATIE MURPHY, demands actual and statutory damages

attorney’s fees, legal assistant fees, costs and prejudgment interest on all damages where such
interest is allowable by law and such other and further relief as may be mete and proper.

Dated this _jl_’>day of October, 2013.

VILES & BECKMAN, LLC
Attomeys for Plaintiff

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Marcus W. Viles, Bsquire
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